471 F.2d 297
    Venkaiah DAMA et al., Appellants,v.Harry I. BRONSTEIN, Personnel Director and Chairman, et al.,Appellees.
    No. 225 Docket 72-1769.
    United States Court of Appeals,Second Circuit.
    Argued Dec. 14, 1972.Decided Dec. 14, 1972.
    
      Samuel Resnicoff, New York City, for appellants.
      Stanley Buchsbaum, New York City (Norman Redlich, Corporation Counsel for City of New York, on the brief), for appellees.
      Before KAUFMAN, ANDERSON and OAKES, Circuit Judges.
      PER CURIAM:
    
    
      1
      The district judge dismissed the complaint on the ground of mootness because he believed "that the substantive issue plaintiffs seek to raise is the one decided . . . by the three-judge court in Dougall v. Sugarman . . . now pending in the Supreme Court."  [339 F.Supp. 906, probable jurisdiction noted, 407 U.S. 908, 92 S.Ct. 2434, 32 L.Ed.2d 682] We are of the view that the better procedure would have been for Judge Frankel to have withheld his order of dismissal, pending resolution of Dougall by the Supreme Court.  Accordingly, we reverse the order of the district court and remand with directions to refrain from further proceedings pending the decision in Dougall v. Sugarman.
    
    